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                5 Los Angeles, California 90071
                  Tel: (213) 436-4888
                6 Fax: (213) 623-2000
                7 Attorneys for Defendant
                  JASON EDWARD THOMAS CARDIFF
                8
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               10
                                            UNITED STATES DISTRICT COURT
               11
                                        CENTRAL DISTRICT OF CALIFORNIA
               12
               13
                    UNITED STATES OF AMERICA,                  Case No. 5:23-cr-00021-JGB
               14
                               Plaintiff,                      DECLARATION OF STEPHEN G.
               15                                              LARSON IN SUPPORT OF JASON
                         vs.                                   CARDIFF’S UNOPPOSED EX
               16                                              PARTE APPLICATION FOR
                  JASON EDWARD THOMAS                          PERMISSION TO TRAVEL TO
               17 CARDIFF,                                     KANSAS CITY
               18              Defendant.                      [Filed concurrently with Ex
                                                               Application and [Proposed] Order]
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LARSONu.v
 LOS ANGELES        DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
                                  APPLICATION FOR PERMISSION TO TRAVEL TO KANSAS CITY
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 1                    DECLARATION OF STEPHEN G. LARSON
 2 I, Stephen G. Larson, declare as follows:
 3         1.    I am a partner with Larson LLP, and I represent Jason Cardiff in this
 4 matter. I make this declaration in support of Jason Cardiff's Unopposed Ex Parte
 5 Application for Permission to Travel to the Kansas City.
 6         2.    Mr. Cardiff has been released on a $530,000 appearance bond, justified
 7 in the amount of $500,000 with full deeding of real property. His release conditions
 8 include: a travel restriction to the Central District of California and the Southern
 9 District of Texas; a curfew between the hours of 8:00 p.m. and 8:00 a.m.; and,
10 placement in the custody of third-party custodian, Attorney Stephen Cochell. Lilia
11 Murphy and Brian Kennedy executed affidavits of sureties in support of the bond.
12 Ms. Murphy also deeded her home as collateral. The December 6, 2023 Release
13 Order and Bond Form is attached as Exhibit A.
14         3.    Mr. Cardiff is currently living with Attorney Cochell in the Kingwood,
15 Texas, and he is being supervised by United States Probation Officer Jack Sherrod
16 of the Southern District of Texas.
17         4.    Jason Cardiff serves as the CEO and President of Redwood Scientific
18 Technologies, Inc. (“Redwood”). He is seeking permission to travel to Kansas City
19 with his third-party custodian, Attorney Cochell, on April 12, 2024 with a return to
20 Texas on April 14, 2024. The purpose of this requested travel is to participate in
21 meetings and engagements with Redwood shareholders and directors. Surety
22 Attorney Cochell will be in attendance at these meetings and engagements as well.
23         5.    On April 9, 2024, my law partner, Hilary Potashner, contacted United
24 States Probation Officer Jack Sherrod, the federal officer supervising Mr. Cardiff.
25 Officer Sherrod advised that United States Probation does not oppose this request.
26 Officer Sherrod did, however, request that the curfew be lifted for the nights that
27 Mr. Cardiff would be at a hotel in Kansas City, explaining that it is logistically
28 difficult to enforce a curfew in a hotel.
                                               2
      DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
                   APPLICATION FOR PERMISSION TO TRAVEL TO KANSAS CITY
Case 5:23-cr-00021-JGB    Document 46-1 Filed 04/10/24      Page 3 of 10 Page ID
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 1        6.     Hilary Potashner also personally spoke by telephone on April 9 with
 2 Sureties Lilia Murphy and Brian Kennedy. Both Ms. Murphy and Mr. Kennedy
 3 indicated that they do not oppose Mr. Cardiff’s request to travel to Kansas City.
 4        7.     On April 10, 2024, Trial Attorney Manu J. Sebastian indicated that the
 5 government does not oppose Mr. Cardiff’s request to travel to Kansas City.
 6        I declare under penalty of perjury under the laws of the United States of
 7 America that the foregoing is true and correct to the best of my knowledge.
 8        Executed on this 10th day of April, 2024, at Los Angeles, California.
 9
10                                            /s/ Stephen G. Larson
                                              Stephen G. Larson
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     DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S UNOPPOSED EX PARTE
                  APPLICATION FOR PERMISSION TO TRAVEL TO KANSAS CITY
Case 5:23-cr-00021-JGB   Document 46-1 Filed 04/10/24   Page 4 of 10 Page ID
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                 EXHIBIT A
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                    YNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. JASON EDWARD THOMAS CARDIFF                                       Case No. 5:23-cr-00021 -JGB- l
                                                  [!] Defendant         O Material Witness
  Violation of Title and Section: 18:1029; 18:1028; 18:1512
                                      ------~------------
                                      □ Summons
                                                                             - - ---- ------ - - ---
                                                D Out of District D UNDER SEAL D Modified Date:
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  1. LJ Personal Recognizance (Signature Only)                  (c). ~ffidavit of Surety With Jettfication          Release Date: l?..I (p/'2-'3   f€- '2t;,
       D Unsecured Appearance Bond
  2.
              $
  3. g-:{ppearance Bond
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                                                                        (FormLCR~-3) Sig#.by:


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                                                                                                                                  e I Clerk's Initials)
          $                 53°'
                            001:J
                                                                                                                      ~           e to U.S. Probation
     (a).     D
            Cash Deposit (Amount or%) (Form CR-7)
                                                                         ~ Full Deeding of Property:                        and Pretrial Services ONLY
                                                                                                                      D    Forthwith Release
       (b). [2("Affidavit of Surety Without
                Justification (Form~ Signed by:                            120g      Mfr,Lan~h/4(
                     JJ zqIJ&O ~ ,_fl.,,, l e1111etj                        K,·jwotJd. 1 l e.r~ S                     D All Conditions of Bond
                                                                         ~             --                                  (Exc:/:it Clearing-Warrants
                                                                                                                           Con ition) Must be Met
                                                                                                                           and Posted by:
                                                                                                                              C:

                                                           4.   D Collateral Bond in the Amount of (Cash              ~ i r d-Party Custody
                                                                                                                         Affidavit (Form CR-31)
                                                                   or Negotiable Securities):
                                                                    $
                                                                                                                      ~Fix,dbyc;:
                                                           5.   D Corporate Surety Bond in the Amount of:              I dFM 13 1
                                                                    $
                                                                                                                           (Judge I Clerk's Initials)


                                                         PRECONDITIONS TO RELEASE
  D The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
  D The Court has ordered a Nebbia hearing under§ 3142 (g)(4).
  □ The Nebbia hearing is set for _ _ _ __ _ _ _ __ _ at _ _ __ D a.m. D p.m.


                                                    ADDITIONAL CONDITIONS OF RELEASE
In ad-'°n to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

[0'submit to United States Probation and Pretrial Services supervision as directed by Supervising Agency.
~render all passports and travel documents to Supervising Agency no later than                     I   a-/5"I /;2.oz,,3               , sign a Declaration
       re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency

       of this case.                                                                                    b~.Jwe~"'   -/-kJL -/-iuo .
~ v e l is restricted to         tD41t •
                                         )
                                                5/o qc :r;K'fs o;ief /rz,,ve / Po i" /sunless prior permission is granted by Supervising
                                                                                          J
       Agency to travel to a specific other location. Court permission is required for international travel as well as for any domestic travel if the
       defe       ant is in a Location Monitoring Program or as otherwise provided for below.
        eside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.


                                                                                       Defendant's Initial .                   Date: / /.,..~ .. 2;?
CR-1 (12/22)                                 CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BON                                            PAGE 1 OF6
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  Case Name: United States of America v. JASON EDWARD THOMAS CARDIFF                               Case No. 5:23-cr-00021 -JGB-l
                                              ~ Defendant        D Material Witness
  ~ a i n or actively seek employment unless excused by Supervising Agency for schooling, training, or other reasons approved by
       syrvising Agency. Verification to be provided to Supervising Agency.         @fmployment to be approved by Supervising Agency.
  Q':1(void all contact, directly or indirectly (including by any electronic means), with any known victim or
       witness in the subject investigation or prosecution,   D including but not limited to
                                                              ;D except for
                                                                                             --------------
       ------------------
  □ Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

       of counsel. Notwithstanding this provision, you may have contact with the following codefendants without your counsel present:


                                                                                       D Surrender any such item as
        o not possess any firearms, ammunition, destructive devices, or other dangerous weapons.
       directed by Supervising Agency by _ _ __ _ _ _ _ _ _ and provide proof to Supervising Agency. g1norder to determine
       compliance, you agree to submit to a search of your person and property by Supervising Agency, which may be in conjunction
       with law enforcement.

  [;?])o not use or possess any identification, mail matter, access device (including, but not limited to, credit and debit cards), or any
       identification-related material other than in your own legal or true name without prior permission from Supervising Agency.
       Bfnorder to determine compliance, you agree submit to a search of your person and property by Supervising Agency,
       which may be in conjunction with law enforcement.
  D Do not engage in telemarketing.
  gefo not sell, transfer, or give away any asset valued at $     C, ()00                        or more without notifying and obtaining
       permission from the Court, except       /),,- o-lkrno {M...s< &,, «J/ he l
  D Do not engage in tax preparation for others.
  D Do not use alcohol. O Submit to alcohol testing. If directed to do so, participate in outpatient treatment as approved by Supervising
       Agency. Testing may include any form of prohibited-substance screening or testing. You must pay all or part of the costs for testing

       based upon your ability to pay as determined by Supervising Agency.
  0 Do not use or possess illegal drugs or state-authorized marijuana. 0 Submit to drug testing. Testing may include any form of
       prohibited-substance screening or testing. You must pay all or part of the costs for testing based upon your ability to pay as
       determined by Supervising Agency. If directed to do so, participate in outpatient treatment as approved by Supervising Agency.
       O In order to determine compliance, you agree to submit to a search of your person and property by Supervising Agency, which may
       be in conjunction with law enforcement.
  D Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or any street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
  D Participate in residential substance abuse treatment as directed by Supervising Agency. You must pay all or part of the costs
    of treatment based upon your ability to pay as determined by Supervising Agency. D Release to Supervising Agency only.
  D Participate in mental health treatment, which may include evaluation, counseling, or treatment as directed by Supervising Agency.
       You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.



                                                                                 Defendant's Initial :                Date:
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  Case Name: United States of America v. JASON EDWARD THOMAS CARDIFF                                         Case No. 5:23-cr-00021-JGB-l
                   ,                             I!] Defendant      D Material Witness
  ~ a t e in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
      restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
      to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

       1. Location Monitoring Restrictions (Select One)

           D Location Monitoring only - no residential restrictions
           ~ e w : Curfew requires you to remain at home during set time periods. (Select One)
                D As directed by Supervising Agency; or
                                                                         g' 1> _____ to _ _ _,,.'-"'--------
                ~ u are restricted to your residence every day from ---..,,,..__             &a
           □ Home Detention: Home detention requires you to remain at home at all times except for employment, education,

                religious services, medical needs or treatment, attorney visits, court appearances and obligations, essential needs, and

                - ------------------, all of which must be preapproved by the Supervising Agency.
           □ Home Incarceration: Home Incarceration requires you to be at home 24 hours a day except for medical needs or treatment,

                attorney visits, court appearances or obligations, and
                                                                          ---------------, all of which must
                be preapproved by Supervising Agency.

       2. Location Monitoring Technology (Select One)

           ~ n Monitoring technology at the discretion of the Supervising Agency. (If checked, skip to 3)


           D Location Monitoring with an ankle monitor (Select one below)
             D at the discretion of the Supervising Agency or
             D Radio Frequency (RF) or
             D Global Positioning System (GPS)
      or
           D Location Monitoring without an ankle monitor (Select one below)
             D at the discretion of the Supervising Agency or
             D Virtual/Biometric (smartphone required to participate) or
             D Voice Recognition (landline required to participate)
       3. Location Monitoring Release Instructions (Select One)

           ~ to Supervising Agency only or D Enroll in the location monitoring program within 24 hours of release.
   ~ r e placed in the third-party custody (Form CR-31) of _ ___;;;;;;
                                                                   Sh::                                 c_"_&
                                                                      =-:.-=..J.r..:.h.:..-e.:=;_"1_ _;_ _ __I_(.:,___ _ _ _ __
   D Clear outstanding D warrants or D DMV and traffic violations and provide proof to Supervising Agency within                           days
        of release from custody.


                                                                                     Defendant's Initial                   Date:
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                                                   00 Defendant D Material Witness
  D Po~ess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
        and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
        to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords,
        or passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view,
        obtain, store, or transmit digital data.   D In order to determine compliance, you agree to submit to a search of your person and
        property, including digital devices, by Supervising Agency, which may be in conjunction with law enforcement.
  D All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
        of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.
  D Do not use or possess more than one virtual currency wallet/account, and that one wallet/account must be used for all virtual
        currency transactions. Do not obtain or open a virtual currency wallet/account without prior approval of Supervising Agency.
        You must disclose all virtual currency wallets/accounts to Supervising Agency when supervision starts and must make them available
        to Supervising Agency upon request. You may use or possess only open public blockchain virtual currencies and are prohibited from
        using private blockchain virtual currencies unless prior approval is obtained from Supervising Agency.      D In order to determine
        compliance, you agree to submit to a search of your person and property, including computer hardware and software, which may
        be in conjunction with law enforcement.

   Cases Involving a Sex-Offense Allegation
   D Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
        and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
        to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords, or
        passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view, obtain,
        store, or transmit visual depictions of sexually explicit conduct involving children.   D In order to determine compliance, you agree to
        submit to a search of your person and property, including digital devices, by Supervising Agency, which may be in conjunction with
        law enforcement.
   D All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
        of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.
   D Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person under the age of 18
        except in the presence of the parent or legal guardian of the minor after you have notified the parent or legal guardian of the
        pending charges or convictions involving a sex offense and only as authorized by Supervising Agency
   D Do not enter or loiter within 100 feet of schoolyards, parks, public swimming pools, playgrounds, youth centers, video arcade
        facilities, amusement and theme parks, or other places frequented by persons under the age of 18 and only as authorized to do so
        by Supervising Agency.
   D Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
        facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
   D Do not view or possess child pornography or child erotica, including but not limited to pictures, photographs, books, writings,
     drawings, or videos depicting or describing child pornography. D In order to determine compliance, you agree to submit to a
        search of your person and property, including computer hardware and software, by Supervising Agency, which may be in conjunction
        with law enforcement..
                                                                                   Defendant's Initials~
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    Case Name: United States of America v. JASON EDWARD THOMAS CARDIFF                                 Case No. 5:23-cr-00021-JGB-1

               t
                                                ~ Defendant        D Material Witness
    ~onditions:

                                                 h11s
                           [fl                                                              1exqs .




                                                GENERAL CONDITIONS OF RELEASE
    I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
    may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
    United States District Court to which I may be removed or to which the case may be transferred.

    I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
    direction in connection with such judgment as the Court may prescribe.

    I will immediately inform United States Probation and Pretrial Services and my counsel of any change in my contact information,
    including my residence and telephone number, including cell phone number, so that I may be reached at all times.

    I will not commit a federal, state, or local crime during the period of release. I will inform Supervising Agency of law enforcement
    contact within 72 hours of being arrested or questioned by a law enforcement officer.

    I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
    tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
    subject to further prosecution under the applicable statutes.

    I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.



                                                                                  Defendant's Initials:                 Date: //   -Jrl -2;::l
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     Case Name: United States of America v. JASON EDWARD THOMAS CARDIFF                             Case No. 5:23-cr-00021 -JGB-l
                                               SJ Defendant D Material Witness
                                 ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS
    As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
    and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
    all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

    Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
    continue in full force and effect until such time as duly exonerated.

    I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
    release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
    fine.

    I further understand that ifl fail to obey and perform any of the general and/or additional conditions ofrelease of this bond, this bond
    may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
    Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
    judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
    United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
    forfeited.




                                                                                                        3!5-- 69'f-k>oy..-
    Date                                                                                               Telephone Number          q "},,,? t'

    City and State (DO NOT INCLUDE ZIP CODE)



    D Check if interpreter is used: I have interpreted into the                                                  language this entire form
         and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                         Date




                                                                                                    Date




     (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                 Defendant's Initia&                Date:
CR-I {12/22)                            CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE60F6
